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 7    Attorney for Plaintiff
 8                        UNITED STATES DISTRICT COURT
 9               CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
10
                                                 )     No. EDCV 21-01633 KK
11     KATHLEEN A. MURPHY,                       )
12                                               )     ORDER AWARDING EAJA FEES
            Plaintiff,                           )
13                                               )
14          v.                                   )
                                                 )
15
      KILOLO KIJAKAZI, Acting                    )
16    Commissioner of Social Security,           )
17
                                                 )
            Defendant.
18
19          Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
20          IT IS ORDERED that EAJA attorney fees are awarded in the amount of SIX
21    THOUSAND FIVE HUNDRED DOLLARS AND 00/100 ($6,500.00), and costs in
22    the amount of ZERO ($0.00), subject to the terms of the stipulation.
23
24          DATE: 12/2/2022           ____________________________________
25
                                      HON. KENLY KIYA KATO,
26                                    UNITED STATES MAGISTRATE JUDGE
27
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